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                      UNITED STATES DISTRICT COURT
                   DISTRICT OF MARYLAND (GREENBELT)
______________________________________________________________________________

VELMA MELTON,                                              CASE NO. 8:19-cv-209-TDC
    Plaintiff,
    vs.

SELECT PORTFOLIO SERVICING, INC. et al,
          Defendants.

______________________________________________________________________________

                           DISMISSAL WITH PREJUDICE
                       PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(i)

        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, whereas

Defendant, Equifax Information Services, LLC. has not yet filed an Answer to the Second

Amended Complaint, the Plaintiff, Velma Melton, hereby designates this matter as settled and

enters this notice of voluntary dismissal with prejudice as to Equifax Information Services, LLC

only.



                                            Respectfully submitted,


                                            _________/s/______________________
                                            Kevin C. Williams, Esq. # 18072
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                                            Silver Spring, MD 20910
                                            301.399.1700
                                            kevin@kwesquire.com

                                            Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of July, 2019, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to all counsel of record.




                                                       By:    /s/
                                                       Kevin Williams #18072
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